Exhibit C
  From: Facebook case++aazqendaiybkx6@support.facebook.com
Subject: Intellectual Property Report #726152691161252
   Date: August 12, 2019 at 6:33 PM
     To: hello@bigappetites.net

      Hi,

      The Facebook Team received a report from you. For reference, your complaint number is 726152691161252.

      Please note that this channel is only for reports of alleged infringements or violations of your legal rights, such as copyright or
      trademark. If you filed that type of report, no further action is necessary. However, if you contacted us through this channel about
      another matter, you might not receive a response.

      If you're not confident that your issue concerns intellectual property rights, please consult the Intellectual Property section of our Help
      Center for additional information:

      IP Help Center: https://www.facebook.com/help/intellectual_property/

      Please note that we regularly provide the rights owner's name, your email address and the nature of your report to the person who
      posted the content you are reporting. You may wish to provide a professional or business email address for contact by users.

      For help with matters other than infringement/violation of your legal rights, the links below may be helpful:

      - Hacked accounts: https://www.facebook.com/help/131719720300233
      - Fake/Impostor accounts (timelines): https://www.facebook.com/help/174210519303259/
      - Abuse (including spam, hate speech and harassment): https://www.facebook.com/help/263149623790594/
      - Pages (including admin issues): https://www.facebook.com/help/pages/
      - Unauthorized photos or videos: https://www.facebook.com/help/428478523862899
      - Login issues: https://www.facebook.com/help/login
      - Help for users who have been disabled or blocked: https://www.facebook.com/help/warnings

      If the links above do not contain the information you’re looking for, you may want to search the Help Center for more assistance:
      https://www.facebook.com/help/

      As a reminder, if your submission contains a report of alleged infringement/violation of your legal rights, no further action is necessary.
      We will look into your matter shortly.

      Thanks for contacting Facebook,

      The Facebook Team
      --------------------------
      Who owns the copyright? : Me or my organization
      Your name (name and surname) : Christopher Boffoli
      Your job responsibility : Owner, officer or director (non-legal)
      Mailing address : Big Appetites Studio
      3239 California Ave. SW
      Seattle, WA 98116-3304
      USA
      Phone number : 206.552.9797
      Email address : hello@bigappetites.net
      Confirm your email address : hello@bigappetites.net
      Name of the rights owner : Christopher Boffoli
      Where is the rights owner based? : USA
      What type of content are you reporting? : Other
      Please provide links (URLs) leading directly to the specific content you are reporting. :

      https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/305309_148618191903512_1401037711_n.jpg?
      _nc_cat=102&_nc_oc=AQmUw04ooZNC7Pqy3ped2xAPfu3ZmnESk9VZAzVC89rxiBvm0zIhtCfITU9ERDR8ghs&_nc_ht=scontent-
      sea1-1.xx&oh=58b881e061934dfa4e2db92188a3b726&oe=5DD2233B

      ��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10403461_471309806305650_1253672524978309177_n.jpg?
      _nc_cat=103&_nc_oc=AQk94Qg7OIXIqYGpMMYyjoyPGTqOw-HPI9XKxTLn3f1-ck8TegXAyRWuk7BvuSv8ybU&_nc_ht=scontent-
      sea1-1.xx&oh=7f210e4f78a20fbf740b6b597afeef38&oe=5DD2C27E��

      https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10565077_471309309639033_5002504365711592824_n.jpg?
      _nc_cat=109&_nc_oc=AQl5slw_DDfv3z6DY6Q8LwQhXSQxvbSpxjoO-mnIIM3KtGeJUZqTa-hTwnbJIAFP8HY&_nc_ht=scontent-sea1-
      1.xx&oh=4038f96b59aa68f2ff26ff60595c7d50&oe=5DE25F56

      https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/64487126_1556079011195708_3886038915672440832_n.png?
      _nc_cat=108&_nc_oc=AQmiE_s6TlrLOqy0bhT91xIcid-Rx5cbIEF5lpoOrMDTQUSL60985k4Fk8bMd9EwFm4&_nc_ht=scontent-sea1-
      1.xx&oh=31c096c338e23549684e536bc7990cfa&oe=5DD0F564
1.xx&oh=31c096c338e23549684e536bc7990cfa&oe=5DD0F564

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/27544739_10215749607283951_8993833450153395690_n.jpg?
_nc_cat=100&_nc_oc=AQkpvggN0Yhr7y1AmxjOPJzO5PD3t7bbvC433QpqYQNYhP7HHjToAVnY44fyVr9EOJI&_nc_ht=scontent-
sea1-1.xx&oh=ff560241117337b8d2b6a6a71b87444b&oe=5DCF8904��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/64788680_10219636000281347_1503279922724995072_n.jpg?
_nc_cat=101&_nc_oc=AQlt3JVuIaTMlOSbAUVWM9s9087HGQ7E-HsbLuBr4MZf4risiNgKwXMxBVhVY4kZnYc&_nc_ht=scontent-
sea1-1.xx&oh=55b9048816bcdd6a588ada2a0bb743ff&oe=5DDB0B0C��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/304817_10150975687212821_1351423319_n.jpg?
_nc_cat=108&_nc_oc=AQkTLJlhRM2sy7ICmgSEg7CuBQ3viYVJ8jg2AQeCSQFCVxfFvxZEIiXGDr1EckepxWQ&_nc_ht=scontent-
sea1-1.xx&oh=ffb03bda5c06cb796f3199274ba97b54&oe=5DECC499��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/598503_221174424669271_390741242_n.jpg?
_nc_cat=109&_nc_oc=AQkKvQ_TGU2BANnP8avHLyTzGjXKEvx1mpzwth_RcX4aC-8VOxxpPnqa28-XsW_1SZY&_nc_ht=scontent-
sea1-1.xx&oh=6d94db8c9d4afb9e6e51ccc8d5d446d3&oe=5DEC629E��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/178904_221174598002587_68399332_n.jpg?
_nc_cat=101&_nc_oc=AQmIuxTezjTS_YlurDaty0Ymmuc_gPEoIAKzWyym8zXt9N6RHY84-d80H3nT0ZYmHMA&_nc_ht=scontent-
sea1-1.xx&oh=bf82c512043f7ae6e522f365711c75af&oe=5DCC9789��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/542466_221174624669251_1395423092_n.jpg?
_nc_cat=104&_nc_oc=AQmE0FPWIjnmEYofM7lYINjM2xmKPSHb8pzUrowb-3KxuKF201tp-A2OyFvvzJT5Wy0&_nc_ht=scontent-
sea1-1.xx&oh=27882bc57515fb361bce44aca5e5d67e&oe=5DCDD25F��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/295095_221174644669249_868254280_n.jpg?
_nc_cat=100&_nc_oc=AQloYwi9FJXe1Fe-2dNRkMyfxnPIhyB34yvWtGDvA8ubMSkRMlGjoNj779C2Wl8KLqw&_nc_ht=scontent-sea1-
1.xx&oh=ce7f6d9b52defaf4637aaf1b772b64d3&oe=5E16097F

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/229979_221174668002580_1696855782_n.jpg?
_nc_cat=110&_nc_oc=AQl9KsJAK_CN8xPBrkMHOJlMrEAL9sVZNcJ3Aim5b3R9_f6WPZJSoSqQF1GmCPZqpnk&_nc_ht=scontent-
sea1-1.xx&oh=934d2f66bfa99ed88c414fe6dbb3b8f3&oe=5DCDE269

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/598480_221174688002578_2015311067_n.jpg?
_nc_cat=104&_nc_oc=AQln6dyHPKmqNvcBOLIxvrVhkAAKc7XYzc2Cbqf9Fn8ulJyOdDDbPevmh_wgka00h3Q&_nc_ht=scontent-
sea1-1.xx&oh=7dc88ce350d786597b9d0857a9ded7ee&oe=5DDB134D��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/599637_221174704669243_124817116_n.jpg?
_nc_cat=110&_nc_oc=AQl9JhNIl7yeA1HkWYfXCAQAt21n_fJ-P7fM8PE770zYU3h2R3Br5n-G0eyG1agaS7k&_nc_ht=scontent-sea1-
1.xx&oh=c4b0961d4f3980a576e7da87363d7599&oe=5DCC0451��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/301698_221174718002575_660743315_n.jpg?
_nc_cat=103&_nc_oc=AQk05e83ocHDyeIaws1O97Ha1iu2YDmjwG3lUduXDpy_ZKR0AAS_0Cu-ZaQhxIVIvTc&_nc_ht=scontent-
sea1-1.xx&oh=da11f76e4588595ddcdfccd1baee5f2f&oe=5DDF2805��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/403410_221174734669240_1568604320_n.jpg?_nc_cat=108&_nc_oc=AQlumMndFj-
Y9Nh5ezMuoTR3iA0P067YFiKhK725b6ifokU3R0v6eycBk6STZ5rF2EQ&_nc_ht=scontent-sea1-
1.xx&oh=9e0eb200e4894665db34265e2ec1f684&oe=5DC7746A��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/538101_221174761335904_2066508022_n.jpg?
_nc_cat=101&_nc_oc=AQmz9WJNWvaN3BLXc-vTdKD9XpPfOeffnCvhjXDVkGZVDexWuPo-VdBguhJBuqY1qr0&_nc_ht=scontent-
sea1-1.xx&oh=9aa25ea88e684b3c761432daf0d5aecd&oe=5DCD4646��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/303307_221174781335902_1075108749_n.jpg?
_nc_cat=110&_nc_oc=AQngSbZ8Wv1rc81qZsY8Ts8y-NZRVXlqsHNbKn4qzsLpezM9nAV8Y7wO54Y5T69XXK0&_nc_ht=scontent-
sea1-1.xx&oh=bdc9de6f5a85d4152ff2c45351c95b0d&oe=5DCF6D42

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/182567_221174821335898_1357208909_n.jpg?
_nc_cat=107&_nc_oc=AQnNJW8fQMYfl--VDwHcalZZUkXdsh16RldWPIirLsVDxqJ2dlWzDODiLr2AV06cjAs&_nc_ht=scontent-sea1-
1.xx&oh=68e220bbbd65dcfd0e157b7279fa0552&oe=5DC9ED75

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/250887_221174911335889_1243544071_n.jpg?
_nc_cat=101&_nc_oc=AQkV5LAF4kfTkR41i3qU4LjbXIjFNY3hI3DruExWWF4bqInEZpbKaCrfagzcmDexSc4&_nc_ht=scontent-sea1-
1.xx&oh=434b5fbfd27db3bd73d36e840c4c03cc&oe=5DE29747

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/403377_221174928002554_538950309_n.jpg?
_nc_cat=108&_nc_oc=AQlkOb5qJnCVKMr8ayjK7pNJrBa0Vf6cElWYIE-keWKJ3LpxxE9QYGVKt4IMibdAoQc&_nc_ht=scontent-sea1-
1.xx&oh=91aabefc673bfa79ad5130c9f57754a6&oe=5DD2D0DA

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/401854_221174948002552_2124473806_n.jpg?
_nc_cat=102&_nc_oc=AQm12B4Rya1wD3eAskaOyuSGoWVMDFTTHW41uMZVL_0zyOeCcRhV26VlOyRSGENlr7Y&_nc_ht=sconte
_nc_cat=102&_nc_oc=AQm12B4Rya1wD3eAskaOyuSGoWVMDFTTHW41uMZVL_0zyOeCcRhV26VlOyRSGENlr7Y&_nc_ht=sconte
nt-sea1-1.xx&oh=d054e2ea58b15f5209554424cd03a07c&oe=5DE1FF3B��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/522754_221174964669217_507792746_n.jpg?
_nc_cat=104&_nc_oc=AQmASwkXdy_GTMmixXcZOX5BR9RavvY2TMI-
YcnE2IBsbWwGo356ygWq3o7XTpS8NBk&_nc_ht=scontent-sea1-1.xx&oh=81b6fa935d5125c620cde0654b1d8ed2&oe=5DDAD901

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/542186_221175051335875_2132517346_n.jpg?
_nc_cat=101&_nc_oc=AQkCYzc105uBcW8JzoyM9qvi72eF7kStugykeCpWjyGdyv4KIBPWbCT5f2UdMTjNQeo&_nc_ht=scontent-
sea1-1.xx&oh=650713ddbff75d2da32d4f053998cb42&oe=5DC9F73B

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/601018_221175078002539_1423095760_n.jpg?_nc_cat=103&_nc_oc=AQm91hADpGl-
tVQta27q3kh1E-0G5toSZE52s61_phmVmfLNpz83gIiABdRLTsJUQzc&_nc_ht=scontent-sea1-
1.xx&oh=dd4fb0f9bae85b95e9fa6448ae8be634&oe=5DDE4AFB��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/537583_221175098002537_1343847035_n.jpg?
_nc_cat=105&_nc_oc=AQlAPzXpvGljyQepLvQVOp-E_CYiTV9gnSf2ZgWBdogpP5nVFwXip5097pgxFiax96A&_nc_ht=scontent-sea1-
1.xx&oh=ccc65b52a22eb5d189d7859c56d6a86f&oe=5DD4D639��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/392505_221175131335867_2127049406_n.jpg?
_nc_cat=100&_nc_oc=AQlWhnFkCtkcu84YlgJN-8L8jxt16xFzqfjBNV9YCcTliNgcetXKxElMQgTzFeTKe7A&_nc_ht=scontent-sea1-
1.xx&oh=f3e308a69507d37b9d904583ad34e453&oe=5DEB8A26

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/552924_221175151335865_1913694651_n.jpg?
_nc_cat=108&_nc_oc=AQlui8DFx0I90SgsgiR7oCuIWt_JRnK-AEj6ecmST9cQrWV9XVyk7qqFYtP7oocX1mM&_nc_ht=scontent-sea1-
1.xx&oh=c2926eed3e77b8e44d9d0bdb0fbca51c&oe=5DEB5D34

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/598683_221175161335864_812656811_n.jpg?
_nc_cat=104&_nc_oc=AQncWTsUOHGL0-pL1RukW-kELdfJQe9PrDmuDYYtRk5RQQkAemUx1rhX40PvsY6sSLU&_nc_ht=scontent-
sea1-1.xx&oh=c240b07539582340ee9e545bed6fc5de&oe=5DD72529

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/537628_221175191335861_296956771_n.jpg?
_nc_cat=106&_nc_oc=AQkcDVaIjz57jjd7z8o9FknIALby-qaI2FN2bnxq4_SPa3Q3ZvrHMaLce5pNHQtAPa0&_nc_ht=scontent-sea1-
1.xx&oh=e35028e4ebd9824547cbee75715f870d&oe=5DCC8DEA��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/576835_221175211335859_378776519_n.jpg?
_nc_cat=103&_nc_oc=AQnqNhnBLnPNbbGvKJ9dZjX8MMWY9vM3K7o-HbyJ8iR83e_udu9bjQo6fQz4Z_9tgOw&_nc_ht=scontent-
sea1-1.xx&oh=60886d5cf08ae12db12be509d2a0b508&oe=5DD4E216

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/252740_221175244669189_1724493634_n.jpg?
_nc_cat=100&_nc_oc=AQlNlLbsFyX9fJd2-yvSYFEFu346fnPGcNEsElJoiIOmEcF_DsR0_YGGxx-kiX2QFBI&_nc_ht=scontent-sea1-
1.xx&oh=46c7053a32950220f454061dc9d8841b&oe=5DE45ACF��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/552906_221175258002521_27162508_n.jpg?
_nc_cat=100&_nc_oc=AQkE1MVZOpPGFUehqDvDeatWt06u54dudf6sCurcLcTZJm0z4gTN_AEHn6TelRRG0qs&_nc_ht=scontent-
sea1-1.xx&oh=0d894ceeeae1ae58afc3758b330b05f8&oe=5DC7704A��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/581251_221175271335853_2063517269_n.jpg?
_nc_cat=105&_nc_oc=AQkvhsfocLhAQ7UR0hRZC4rR4AEHGiaEPAMVX7HfSx2_hztI_isBbvVuQ7GlonaROAg&_nc_ht=scontent-
sea1-1.xx&oh=3ca80736bd09569be9b90ceb0ec025f8&oe=5DE29604

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/575888_221175294669184_286343528_n.jpg?
_nc_cat=103&_nc_oc=AQlE_qNWhpbyoW5vunZros15Y-CuXfHvjONJdGD8uMM7Zc8YfwdfqkFzl6ith6-slTg&_nc_ht=scontent-sea1-
1.xx&oh=ad9833d92a0d2115f32aa0f317c3a78a&oe=5DD0C3B5��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/527788_221175314669182_1128566176_n.jpg?
_nc_cat=102&_nc_oc=AQltabTF8d4xoDHYbDGKBJgY-PuK6qZZ8Hb90SBC0Ee0-C1bqMMVCSyeiCCXQlPkgBk&_nc_ht=scontent-
sea1-1.xx&oh=620ea444527ef7243d1850aedd17335f&oe=5DCF39F9

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/319840_221175364669177_1846094091_n.jpg?
_nc_cat=100&_nc_oc=AQlRhMSSPZDYeUBi8Gx7dvTBhwJZwdXYsS1U7bi_UmYU-vJmGM-rQx40puvlxbCF-s0&_nc_ht=scontent-
sea1-1.xx&oh=ff12b6483c605ad281a11cca165a5d07&oe=5DE9EC7A

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/554360_221175401335840_1899529135_n.jpg?
_nc_cat=108&_nc_oc=AQm1vuLSR-YU_T4thCGeEnrg_ffECUkyGxhpbixrTvFdvWwLAF0oN3Lh4vgi6pg7yVI&_nc_ht=scontent-sea1-
1.xx&oh=9de9553df664ef1cc31885b12590b973&oe=5DDF83C0

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/550548_221175504669163_47607363_n.jpg?
_nc_cat=108&_nc_oc=AQmmq5niigLJzdZDiDCSL2jiONk_43p2RkmPeCiG_HY-L2ZkBhkTH7WbajwXkPUo-Lo&_nc_ht=scontent-
sea1-1.xx&oh=7708d88f54fb180925312a7d74e01843&oe=5DD3C679��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/251821_221175561335824_1309384314_n.jpg?
_nc_cat=104&_nc_oc=AQmQF8CeUbyH8eGr2kYF7-BpTWOEUpO7OWI0xTPpPSujoj5jILzKI4TctJsv5uvjUSA&_nc_ht=scontent-
sea1-1.xx&oh=df82922786a7608ff8bcf63f363d761b&oe=5DCEDA3B��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/576554_221175578002489_1647565780_n.jpg?
_nc_cat=100&_nc_oc=AQlvKVFpNTtX6aqusrqYbWXmkW8bapxUvwBsTwZkVjhSn21ukCw2b7noHvNj52o65yM&_nc_ht=scontent-
sea1-1.xx&oh=a9c13720d48e25aeaf7b56842acaf8e5&oe=5DDD6B0C

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/601214_221175591335821_2014710215_n.jpg?
_nc_cat=101&_nc_oc=AQlhSQxEDcCwKj9hKDRDV3zjAT--HeC8qiQ2VHBL-_EdQ5heFMORndQgjHzCUerXhY0&_nc_ht=scontent-
sea1-1.xx&oh=760598bfd1d207039d7360adea44c6d1&oe=5DD088C9��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/581142_221174564669257_564559599_n.jpg?
_nc_cat=103&_nc_oc=AQlEZh3fojPgoG33omzXngd5TUFJQWqNKZGtiMw3lPnbgY9kSHygqjneJ2Hp86XpAJ4&_nc_ht=scontent-
sea1-1.xx&oh=1bb9c4d097b1ec0b4451c98375570be9&oe=5DE223B2

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/526711_221174548002592_340319418_n.jpg?
_nc_cat=107&_nc_oc=AQlavomnspABvkZb9BsBK-Sezv-PNk3126VowDnEaIHADOqAMrI0kiCHKtItQ3rGFx0&_nc_ht=scontent-sea1-
1.xx&oh=8d818a5429af846fee2be0685af45abe&oe=5DE397F2��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/538265_221174528002594_2131532524_n.jpg?
_nc_cat=104&_nc_oc=AQlLu_2137XrHQIC6jadF7Daiu7AYUUW-W4ITO3oer_lPI5wdOuPED5fzioeQ4bRIic&_nc_ht=scontent-sea1-
1.xx&oh=d4c6d9b14f61ecf200814f0d7e4e9fac&oe=5DDEB66D

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/598503_221174424669271_390741242_n.jpg?
_nc_cat=109&_nc_oc=AQkKvQ_TGU2BANnP8avHLyTzGjXKEvx1mpzwth_RcX4aC-8VOxxpPnqa28-XsW_1SZY&_nc_ht=scontent-
sea1-1.xx&oh=6d94db8c9d4afb9e6e51ccc8d5d446d3&oe=5DEC629E��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/400838_139616562895155_106024381_n.jpg?
_nc_cat=104&_nc_oc=AQn9jIzWXqGqyqQOEanYyjRa46muCim1d9EKx75p3jnIMKfGUzrDBcYbR9Kp-VAvJCg&_nc_ht=scontent-
sea1-1.xx&oh=716b2b4d7ad7e6f0f5062a63b2b70614&oe=5DE4C276��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/251902_454289014589602_777954919_n.jpg?
_nc_cat=108&_nc_oc=AQmBIGusV0vyxhw3Jm2G6oGczg-NFMoDKTAhAApw17hzrsHwlSh3JBAPo3WR1eyGOTI&_nc_ht=scontent-
sea1-1.xx&oh=a8c28daebaaac1f4fed35f57eed6a2da&oe=5E157A2A

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/6006_537471562981369_1848682704_n.jpg?
_nc_cat=104&_nc_oc=AQnD5K1bAn43eQ8IepUiqhUYswBbgtn8SKfinm82taMTStH7Mor9A-g8EvH0udkEGwQ&_nc_ht=scontent-
sea1-1.xx&oh=7a93dec23a7b711a017d629284f4d73e&oe=5DCE3AE2��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/1236626_517398618347058_1622158425_n.jpg?_nc_cat=107&_nc_oc=AQmyb3Kh-
HBm7YsJGWBgDBvAliCbCm84cLuWpsyBeHYyi4CQIzhHnMLPVT_qIlIyn_g&_nc_ht=scontent-sea1-
1.xx&oh=5dc4b04c3bc419c1327ccd4e645ec49a&oe=5DE43DCD

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/531921_517398878347032_1276561304_n.jpg?_nc_cat=111&_nc_oc=AQniZgTaR9lXt-
Zs4rpvPjFIB2CFT75M8x_ht1BHBQAF-XZjiD_-7jRlfTGFzhiNZAc&_nc_ht=scontent-sea1-
1.xx&oh=ad8c21f1ccdfbf2359dc7ae7b57b4b65&oe=5DDA08D9

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10371967_10202763563907765_5641152754195115472_n.jpg?
_nc_cat=100&_nc_oc=AQkIj1MkQUDn8iUMxM_HGORXe_ra7d1z3bA38u0rM6qI9QCl-Kk6fXocCJD4NKpgSrE&_nc_ht=scontent-
sea1-1.xx&oh=57eb4a4f6a74678c874e656871188bba&oe=5DCE31B6��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/977653_500200716716300_2031934005_o.jpg?
_nc_cat=103&_nc_oc=AQmMXuos3yi5wCqw3GuQY-hnVkjjs30H2kFXpbs4xpBTh9H32Pv1c463bPMuGBZR2F0&_nc_ht=scontent-
sea1-1.xx&oh=95ddf8c0f65809dcfac43bb69a1674d3&oe=5DEB5E18

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/487793_429701107068632_51548464_n.jpg?
_nc_cat=111&_nc_oc=AQnpU3WTjWSjHZyxpkGB0Ni8hS0_XHPHPW0aVz9WGI-UHoJZ56t3t07KP-NKcAj4CZw&_nc_ht=scontent-
sea1-1.xx&oh=513634aae06bf78f235a33d94b0ee6eb&oe=5DECD5B9��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/399379_429701213735288_15724041_n.jpg?
_nc_cat=105&_nc_oc=AQlV_nlEjd9XzX4nYYw5rYADDpeAoG7M-evYC9peWBeJMNFM9i-ITlJQsZ_e7Jci2I4&_nc_ht=scontent-sea1-
1.xx&oh=11ac64a6765a73cc1b326909943f8b4f&oe=5DECE452��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/252201_10150967760144443_1990127817_n.jpg?
_nc_cat=105&_nc_oc=AQmArH6T_IIaiGDCTbsJeZai_mnREyYdJxca4p5DRAN3NRHFC7l1aBaxUnUKBwDAwhM&_nc_ht=scontent-
sea1-1.xx&oh=6f09a503409df89e5dc5515c093c397e&oe=5DE2E79D

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/532768_10150967760349443_396981930_n.jpg?
_nc_cat=105&_nc_oc=AQlzNFt2Vn5vNrrivA06pVnHLp9v9d-GZ6MC6zUqmBYxR5WIMe0nAZPJPLYWUi_LPX4&_nc_ht=scontent-
sea1-1.xx&oh=038e1d4284369f28b50e0942da642c62&oe=5DE76D8B

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/314127_10150967760234443_301369406_n.jpg?
��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/314127_10150967760234443_301369406_n.jpg?
_nc_cat=103&_nc_oc=AQnzYVjCrKtxT0Pi462klnmTtr6CIaTS16FTmcaWYV5TonQNN2WPr21mMpxTU32twYA&_nc_ht=scontent-
sea1-1.xx&oh=38da6ecf39d06cd9324e2d52c6ab2613&oe=5DDC9FDE

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/527610_10150967760309443_452528939_n.jpg?
_nc_cat=110&_nc_oc=AQnzIYkXGHF53WnHKacjuO9i29UTV8x8qfvU_NPPp0tUu1G6R4woM-TNqAxjY4De9R8&_nc_ht=scontent-
sea1-1.xx&oh=4c79eb12bea24bd35c0717c13c04fade&oe=5DC97CFE��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/486586_208690062592489_86195804_n.jpg?_nc_cat=102&_nc_oc=AQnbVpai8v4Z7-
NaY-8N0UFGxkfTjMxGpFvLcU4mr_zb_1zTgfLPfpY3R3bVeYzrHvI&_nc_ht=scontent-sea1-
1.xx&oh=9b912b593fe801bf7fc8a485efbbbd67&oe=5DD335FE

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/1005702_554369504601791_637564896_n.jpg?
_nc_cat=104&_nc_oc=AQkqgYFWFwbM2NWL4jZuBM-r67gBI1r0kf1-Vdug2mu8hMAs4kYeExEWEJEHa_5YGCk&_nc_ht=scontent-
sea1-1.xx&oh=bfda689ba0ba8cec7acc1365b0f417e7&oe=5DDF0573

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10171124_1578315209076929_2208139373168781388_n.jpg?
_nc_cat=109&_nc_oc=AQlMUVaBDXU3IVbYFLIZoHeeu9bgIRBrOkyKZXQYuFP8PNqbfrjLEsUy-kh3b1GI2vc&_nc_ht=scontent-sea1-
1.xx&oh=53f4f03409fe5e9fedda8845a674fb2f&oe=5DDDD3A7��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/314461_429701230401953_1182468071_n.jpg?
_nc_cat=100&_nc_oc=AQnlJf1ia8OjD5ljQWl6WsryhI_COLaIfppaH1JKMQAHEannKbyyoLdDLCyGYhO-iNI&_nc_ht=scontent-sea1-
1.xx&oh=bba5d7249300f5723aa0f9cb3b21a08f&oe=5DCD3DFD

��https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/324070_101158410031546_1680899715_o.jpg?
_nc_cat=105&_nc_oc=AQmipLwpCJhINMtQNkm6PLNBPHUxjH6AgKLQ4ts0FXAtQOyXz3t6Q3AZ5nOJktJ5lBs&_nc_ht=scontent-
sea1-1.xx&oh=ce1f207511faa1964873a45158aac42d&oe=5DC7EBDA

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10898176_774063119297201_5232913986751550909_n.jpg?
_nc_cat=102&_nc_oc=AQk0x43QTyR0l9nRwFR5aJVEj_-xNglNwpImv-XxHv9NfndU6hI6IGtZE7tcczWpbWA&_nc_ht=scontent-sea1-
1.xx&oh=b398cb187e6cce366fd347dbf6179a9c&oe=5DD79E89

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/36561150_1929684193719062_7631158330865483776_o.jpg?
_nc_cat=110&_nc_oc=AQnuqc-tBIsOlbzjyuBft08-rIs-QJaOYKz2bQVk2dobR1vWO5Hq6c2xsuGpE_sWmTk&_nc_ht=scontent-sea1-
1.xx&oh=a50e80105311c04d9dc285512c31d279&oe=5DE13DD9

��https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/1795873_798000053547592_548108070_o.jpg?
_nc_cat=105&_nc_oc=AQl0ShdOSAfSFXXtJTKwSBFJ6MAg-m-k7aBM-vm_EsbTJNAy8ZxE2HDZ224GQGKt7bA&_nc_ht=scontent-
sea1-1.xx&oh=60b2549b2e19f07e700859971e01d710&oe=5DD570B3��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10412018_512258588902018_210493992271507357_n.jpg?
_nc_cat=104&_nc_oc=AQnzdiE-aq1aT_hyj7JZ-Hvo_VNFiO6e9_fIaLQ4n0ZuBYMrUM6tbHW8WlY3WnDMsU0&_nc_ht=scontent-
sea1-1.xx&oh=e9428fdc92aa39a30d962c544f69a36c&oe=5DD3CD54

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10446640_512258548902022_1619711172255486146_n.jpg?
_nc_cat=105&_nc_oc=AQmkSndbsZnzFgdFR8OH-_1RuNNN6dUMeoUJyPCk3yDuPruiLz47AxWWsQt3MyoQAoI&_nc_ht=scontent-
sea1-1.xx&oh=d0e5d276b0214fe85af3546207ce886a&oe=5DD389C6

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10352557_512258655568678_2307767972737959448_n.jpg?
_nc_cat=111&_nc_oc=AQmK-JCKnJRVBgb4n3QgXkdgHiB1DybZbuRZI_m-axN9BkNDRDIRNxUtqkP9ddPiFPQ&_nc_ht=scontent-
sea1-1.xx&oh=46a9e47f4c5bf7cae8a42d403afb1a37&oe=5DC769A6

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/36452961_1929684120385736_3619921371917713408_o.jpg?
_nc_cat=100&_nc_oc=AQlAKthxxFYLaed_aaHXNMhqKPCAq9nSphqxz8y07d9lVq-t0L4SqwMB6XvHWXmW87A&_nc_ht=scontent-
sea1-1.xx&oh=a02cc47108bb579f52ab99c16eb5dfcb&oe=5DD9D872

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/36408599_1929684320385716_1759393388135710720_o.jpg?
_nc_cat=110&_nc_oc=AQmmue3RPD-
h9s9tfPXOGxavgX4SdTQV1UY4JA0v5ZDu4aoDOK7wDS2rVR7qyBSHDn0&_nc_ht=scontent-sea1-
1.xx&oh=da9fda154dabce08e9079e5701d05c2a&oe=5DE1220F��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/36516516_1929684333719048_7909135211332370432_o.jpg?
_nc_cat=100&_nc_oc=AQlBQ77B3IWkPxS0QThYklfNVHBZaFMssO4c_P7l2Q0b-8arOQzH-kbCtoUP_L-1BVA&_nc_ht=scontent-
sea1-1.xx&oh=d0642d34d76948b527e21d4cf69287fd&oe=5DD2BE7F��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/36569236_1929684443719037_8763826556410789888_o.jpg?
_nc_cat=109&_nc_oc=AQnIWk0Trgm1guZoUSaqVmjxQlqubKrCV6B9RtA4cbwkqWMTxFzBIflN8vapLC-syKM&_nc_ht=scontent-
sea1-1.xx&oh=ce554956cbf1c90cc11ab6b127105afd&oe=5DE3C5ED��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/36431858_1929684517052363_4411957102721892352_o.jpg?
_nc_cat=105&_nc_oc=AQk5nZ9jo-o0ixz1pipqUAYljjDvlt6L97IyBiDzxLixrMPW-yuJGi0GspGqllpY7gM&_nc_ht=scontent-sea1-
1.xx&oh=915c99a075f19f47634377c8f52cabc8&oe=5DECDDA0��
1.xx&oh=915c99a075f19f47634377c8f52cabc8&oe=5DECDDA0��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/36546375_1929684337052381_9030397386718969856_o.jpg?
_nc_cat=101&_nc_oc=AQmN8C6Ol97ROaUpgq4zoEqRax9R0XHXSIupF0rzDB64NbiZLbNINXzpIyy1I4gDY7g&_nc_ht=scontent-
sea1-1.xx&oh=a8f755d9ddb00a0dda5b26a8b41cf2f2&oe=5DD72FC6

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/36530553_1929684420385706_3843190973307813888_o.jpg?
_nc_cat=107&_nc_oc=AQmX0iJ9dfBnT6PV77ToB9D117vRtnIV9q8kO7i-N0p3eXlAbYawxRRWVlriQjAJRVI&_nc_ht=scontent-sea1-
1.xx&oh=45d8879561a0447addc2ccbbe7f4e360&oe=5DC9384B

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/36417405_1929684423719039_3752976194572648448_o.jpg?
_nc_cat=107&_nc_oc=AQnu6pEyESv3jpaUAgKQaximvHS3IQTPZiAujHsh_89brUHs9o34r-ajpSEXd-_bBxE&_nc_ht=scontent-sea1-
1.xx&oh=e22417238e561ac0eacae1d36b2c4f93&oe=5DD233CA��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/1147488_566195546804171_925491672_o.jpg?
_nc_cat=107&_nc_oc=AQkOt9EA0EH3xeNZet40d71-fZsphKx1KBroh0Dmt3CUnxhs2d6nkb2B9qGhNI3ilHw&_nc_ht=scontent-sea1-
1.xx&oh=4a38aa28368697ccaf1df895262cc3f3&oe=5DD39BF4

��https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/1531915_798000116880919_1598180457_o.jpg?
_nc_cat=101&_nc_oc=AQlMSHPKEwylwQ_uIjxRjGjl4ktSB9JaXkHy4c1GfQMTg1RmFogEtqOr7zFHfmvsryE&_nc_ht=scontent-sea1-
1.xx&oh=1836e2c8a24eccf248fa6b4f450caa2d&oe=5DE59132

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/1014712_798000003547597_1553327639_o.jpg?
_nc_cat=111&_nc_oc=AQlz1NSTSjm11ZCqLdzdfH06AghOBzdFjdhkPoMkluKmR92ORfEuqodGuA6COKwoH9s&_nc_ht=scontent-
sea1-1.xx&oh=d327eb987cf8174203c43947837e4891&oe=5DE65984��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/1795873_798000053547592_548108070_o.jpg?
_nc_cat=105&_nc_oc=AQl0ShdOSAfSFXXtJTKwSBFJ6MAg-m-k7aBM-vm_EsbTJNAy8ZxE2HDZ224GQGKt7bA&_nc_ht=scontent-
sea1-1.xx&oh=60b2549b2e19f07e700859971e01d710&oe=5DD570B3

��https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/1534974_797999956880935_1660227321_o.jpg?
_nc_cat=106&_nc_oc=AQmYefQ-hBlxGSLpAsNjD9UmfmzgURWUbkSP66uIdOf4otfQR1_z5nIzr5L6Rr6zyl0&_nc_ht=scontent-sea1-
1.xx&oh=c9945d286a3be15f3912ff13771059cc&oe=5DE6CDEF

��https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/1606513_797999910214273_113900833_o.jpg?
_nc_cat=101&_nc_oc=AQltARvpYTPUfnQq1j43IKJouxwYrOu7qGgD0sBnsa2GAh_JWDC9CqscVixzd6S6u8s&_nc_ht=scontent-
sea1-1.xx&oh=89ebaa8d5d0ab7107ee39754b7f51555&oe=5DC86A32��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/1836597_798000170214247_1874213330_o.jpg?
_nc_cat=104&_nc_oc=AQmGNn3S2LPTqwo8kyjD8_Oh8kq89G8LZkamxciVkATuZbeH-20Tan6iuUNHF4WgdcA&_nc_ht=scontent-
sea1-1.xx&oh=481e718f9eb4625b18efba726fbd1ce9&oe=5DD07E32��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/1782278_798000213547576_806721143_o.jpg?
_nc_cat=101&_nc_oc=AQkjvp_yfQJeJSj7jV6Ie9ObC3Q4ESTahqLDwSVB3ZmPbn-nx5MQk03tg34dlL_JF-w&_nc_ht=scontent-sea1-
1.xx&oh=ca81553f20722c1a52ce3617c2bf0c97&oe=5DDB6DE8��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/1889065_798000256880905_469548284_o.jpg?
_nc_cat=105&_nc_oc=AQn4Ng0JO13l103f9epR41-qpvPl3ioI2yS7nDjCG-Ya2hYTeMtZMgJ0PwKpKNKa300&_nc_ht=scontent-sea1-
1.xx&oh=ad294ddb01b349aac7c89540ae78a853&oe=5DD04CF7��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/521402_454107007985713_115660838_n.jpg?
_nc_cat=111&_nc_oc=AQnYFHmw5V5G6fBhLxyWTQqjEp5q6tmVUX-ZL-Xy6IfgsWihqIMPPmP_lYR37ZyNGqk&_nc_ht=scontent-
sea1-1.xx&oh=860c220a2776c9e9997fb64b04fe0b07&oe=5DE03A92��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/527610_10150967760309443_452528939_n.jpg?
_nc_cat=110&_nc_oc=AQnzIYkXGHF53WnHKacjuO9i29UTV8x8qfvU_NPPp0tUu1G6R4woM-TNqAxjY4De9R8&_nc_ht=scontent-
sea1-1.xx&oh=4c79eb12bea24bd35c0717c13c04fade&oe=5DC97CFE

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/546014_190093431124308_1535314350_n.jpg?
_nc_cat=111&_nc_oc=AQnh8mHY1vVZq7J61pDErcBhMGF5WZvxGxhFVPFCggC8jEZ2T-DdXBGFVf7FUdGbdGc&_nc_ht=scontent-
sea1-1.xx&oh=6114200e733f4868f1eef76bd8d59bf6&oe=5DE5C220��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/540575_310836555676373_1889907770_n.jpg?
_nc_cat=106&_nc_oc=AQk9HTQ_E6JH2xcqWdwaNJRYxX2VE3Gwaw4sR_BoY7m3fef8ZsrXgM5B6uVJOnsLuOQ&_nc_ht=scontent
-sea1-1.xx&oh=9a2f784ddd1863532c1ef8b96b1ec53e&oe=5DE0BDDF

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/1401274_10200819363507307_571983107_o.jpg?
_nc_cat=108&_nc_oc=AQkzj_hXcitK3biHjL9Byx_0aygvaOh_3FhPov5wN1hsKKwpt-upGlDX6x6gLsl7tJQ&_nc_ht=scontent-sea1-
1.xx&oh=82352f49e66aa834898aceb284338050&oe=5DDA0452

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/1401723_10200819363467306_1751709639_o.jpg?
_nc_cat=101&_nc_oc=AQm9MKexwtCSpe01RdLDbiouU63V1iIo6Ens5c2xD-9gJ7GnyJtXTweufRMP8BP7n_Q&_nc_ht=scontent-
_nc_cat=101&_nc_oc=AQm9MKexwtCSpe01RdLDbiouU63V1iIo6Ens5c2xD-9gJ7GnyJtXTweufRMP8BP7n_Q&_nc_ht=scontent-
sea1-1.xx&oh=065839b21e258af4165b89dc78da7690&oe=5DE7ED79

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/1278084_10200819363547308_805394477_o.jpg?
_nc_cat=105&_nc_oc=AQl7U9NFZlE1_g40JEnfRGamuGIXFG97Lp1DMzIC9IJDmCCUUr8zX12HIuo3yW28nL8&_nc_ht=scontent-
sea1-1.xx&oh=b6d337ae4638a64f1016e86683a9976c&oe=5DE6F0AA��

https://scontent-sea1-1.xx.fbcdn.net/v/l/t31.0-8/904685_10200819363587309_336233674_o.jpg?_nc_cat=105&_nc_oc=AQnoH-
iDODTR3eZmxJVzimrNNAONO0yBb3z_-GmdPnYZbhvahd-yIXfkn1bEOaGdHus&_nc_ht=scontent-sea1-
1.xx&oh=17a8f4a4fa63f414a4902c0e76c71bfa&oe=5DE6B7EC��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/523779_420449044683472_1733411403_n.jpg?
_nc_cat=102&_nc_oc=AQlqsNVEKTziMP_T486SPytljWkKv-WtLAck-1bI7mwVLuIWXcejB9pvty58huplCZk&_nc_ht=scontent-sea1-
1.xx&oh=ba75756d82b89904bdac3d736f0c9b1c&oe=5DE4BAF0
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Subject: Intellectual Property Report #712152789299415
   Date: September 17, 2019 at 5:07 PM
     To: hello@bigappetites.net

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      The Facebook Team received a report from you. For reference, your complaint number is 712152789299415.

      Please note that this channel is only for reports of alleged infringements or violations of your legal rights, such as copyright or
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      Thanks for contacting Facebook,

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      Your job responsibility : Owner, officer or director (non-legal)
      Mailing address : Big Appetites Studio
      3239A California Ave. SW
      Seattle, WA. 98116-3304
      Phone number : 206.552.9797
      Email address : hello@bigappetites.net
      Confirm your email address : hello@bigappetites.net
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      9/1012120_379831442117472_1238972999_n.jpg?
      _nc_cat=109&_nc_oc=AQnxS_bP2Urjtv8_C4iPvdqbDX5zJkw6sAw3EalmnFsBZ3I6IrX8sw8PT9letzdyb0Y&_nc_ht=scontent-sea1-
      1.xx&oh=24d9105b0beeb5aff5dffa6a94ddb381&oe=5DF15FD2

      https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/305552_446514272071731_1301592895_n.jpg?
      _nc_cat=109&_nc_oc=AQmjhaoipMc8OrvIC7fueFqsygCstlHCGfxR8eNx28Jh4Eoq7zPeM7136om79icNhSk&_nc_ht=scontent-sea1-
      1.xx&oh=40b956c6c5ab7d97c33c197658ee5e74&oe=5E3DF6B8

      https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/425484_357619567584536_2035562877_n.jpg?
      _nc_cat=100&_nc_oc=AQkxaWMVutC4qtz2BMQQA8zcIUr4mMjrLBPyhPOBRzChmT5YWvXRduUteQa2etjKspo&_nc_ht=scontent-
      sea1-1.xx&oh=f4a2b989a18d70d92268dd4a7d4cddd2&oe=5DFB5342

      https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/374275_172985012798316_203910578_n.jpg?
      _nc_cat=101&_nc_oc=AQkw4dLI5kHPPSMS64XhONvUNKCWOVpisXu6mAS1_dKF6rnHzQ6uGEPerJ2d-
      SSBmy4&_nc_ht=scontent-sea1-1.xx&oh=b2be0fd62c1ad35eb366a20494853367&oe=5E38CCF7

      https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/381625_172985036131647_53370572_n.jpg?
https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/381625_172985036131647_53370572_n.jpg?
_nc_cat=106&_nc_oc=AQmowCe37TcwHvA0jVHf310ZHY65KHuMgivwv7GjOERSh2zlRiHvZnOpM9W2VnBF9HY&_nc_ht=scontent-
sea1-1.xx&oh=c96b5b8dc0eddb4aec5d420fa51ad8dd&oe=5DFE82AA��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/316626_172985076131643_1677931616_n.jpg?
_nc_cat=109&_nc_oc=AQmiL0Obeslr6wdJ2dmnaNc5QFeTT6Byx2n7u75N6TPkhNswEzRLSOVT6nHuSuaqudw&_nc_ht=scontent-
sea1-1.xx&oh=d879ad28bcdcc0559cd6119741916afe&oe=5E095EF3��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/384689_172985106131640_281927597_n.jpg?
_nc_cat=106&_nc_oc=AQmZ1_ywcHUozTFJeCEbQx-PhPEfpxecgO0gqU5lb0IeYbzGi5oc9cvpwBuVARgJBB0&_nc_ht=scontent-
sea1-1.xx&oh=a556ff862402b6dcee9fe78d5b34578c&oe=5DF8EADC

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/389466_172985136131637_1242956977_n.jpg?_nc_cat=103&_nc_oc=AQmFM-
rAWAWHlaBn90jGQCoa28IPuvf4q8thjwlS3Z2H_EP6AjBzSeY0w_lbIEVwVr4&_nc_ht=scontent-sea1-
1.xx&oh=8347258ffcd32704419c75c43e4e7693&oe=5DFC25BD

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/381054_172985156131635_1442028066_n.jpg?
_nc_cat=102&_nc_oc=AQnZss2TbU9TfbvpUkCkJoHYGRIodUH66V_tSfRQ-rHudJzDNySSp4_w271ZV8H22fE&_nc_ht=scontent-
sea1-1.xx&oh=d771206892f1f12ff32776bcb56c0739&oe=5E099526

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/381287_172985179464966_1309722805_n.jpg?
_nc_cat=109&_nc_oc=AQm2PF2ljytwl8it1tDHBJK_ct0fxGE8vqKh-hd4gZhe9w-y6_8_UVh3A7NLoTVeKMA&_nc_ht=scontent-sea1-
1.xx&oh=d4ef8e896d6729b7e383e2e6913acbfe&oe=5E00E251��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/377904_172985199464964_1384840421_n.jpg?_nc_cat=107&_nc_oc=AQlDv-
zI9czsHZi-mdcxuTc9chzXCTGXPrmUTDaLb4Q2amTowmtm4mom0ytxsn_SIYM&_nc_ht=scontent-sea1-
1.xx&oh=b3f7979416db1c3494b2305020a80079&oe=5DFCDE0B��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/383688_172985222798295_1944783549_n.jpg?_nc_cat=102&_nc_oc=AQk5RyAYj5-
DnPYwWW9Inymq55TmrkDIMFUmYurYPfZrrCUw3e9l2B8MA-V9srDH_e0&_nc_ht=scontent-sea1-
1.xx&oh=b55ba2ada159485d8df22342600e04e7&oe=5DFE6625��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/376111_172985249464959_537031522_n.jpg?
_nc_cat=109&_nc_oc=AQmR9B19ZO8XdUyBNLCPCziedOOyOA8ev8G6WW2NSfvXJXfTHeIFgTIGe5lqLBA6Oy4&_nc_ht=scontent-
sea1-1.xx&oh=5b195f01356932b0deef32d50d5573d2&oe=5DEFE8F2��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/313073_172985262798291_1929549000_n.jpg?
_nc_cat=100&_nc_oc=AQlQgNaS_T1Ywhms2daEN_7mEnKpe0FQUTgY_zu6AQjFW4dEBNSxEN_e61t-CIM3osA&_nc_ht=scontent-
sea1-1.xx&oh=8a8667b5a527b19075c387f5970102a9&oe=5DF2087A��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/380988_172985289464955_70584282_n.jpg?
_nc_cat=110&_nc_oc=AQl9zEndLLlK7TLcvdfaO6vMNYC7-JPVkapQn2Iuh1j6G5MXEC8FHQiN9E58ZpwP7oE&_nc_ht=scontent-
sea1-1.xx&oh=2a326768bf045a51c65f8b1d360d27ee&oe=5E01043C

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/382745_172985302798287_7635824_n.jpg?
_nc_cat=105&_nc_oc=AQnCmEG0WOQbUHVNsCrrGl9SuVdU4OOIp6XGc0UeXcUa_wqZwyMpsrpxKAtoKW-
Dr7c&_nc_ht=scontent-sea1-1.xx&oh=8dce26ed65f7ae811b447fab1eccc2c4&oe=5E020D47��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/391002_172985326131618_56386418_n.jpg?
_nc_cat=109&_nc_oc=AQneZO5_ixZMmlvz-zqthtbsEmgmOlLlhN9g8C071VAroOk-UxUojtltoP2aFF_q7Qs&_nc_ht=scontent-sea1-
1.xx&oh=2ef856a57015fba283315d6ee75053f8&oe=5DF49FAA

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/392967_172985346131616_1660316246_n.jpg?
_nc_cat=100&_nc_oc=AQmxkgkXuuuqgJ8tVZlVx4IJnpIF_blYaT6SgllyUJDpExL95tSgtbtozrR3y2Udh38&_nc_ht=scontent-sea1-
1.xx&oh=51a6a5940bf3fa56074f08436c79f244&oe=5E37B660

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/310514_172985356131615_1181348387_n.jpg?
_nc_cat=104&_nc_oc=AQnlPY2gOrKud5iGSAcnG3ENoCOWOlGq1c4jmeVsnEbeA2aGBgfXP9pXe-ugyEAv5HI&_nc_ht=scontent-
sea1-1.xx&oh=f381918a182c5ad18a1a55c83df1241f&oe=5E3A65EB��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/392334_172985412798276_840105176_n.jpg?
_nc_cat=104&_nc_oc=AQm3j5IkX6i2XtZZli8aItJfOQVQSbsdwD4UrtyCHjxevmukIhdl4cTlt_b8o7hX41w&_nc_ht=scontent-sea1-
1.xx&oh=4479696b5cb29ec95fe61c11bb325202&oe=5DF4FE98

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/384162_172985459464938_1190171767_n.jpg?
_nc_cat=102&_nc_oc=AQmlTCb9v7dVrV5Cn-jHe5D8m7uJLBNwhH284rYLEUvqOZpNDmGEfU5CR0QbRoNzolY&_nc_ht=scontent-
sea1-1.xx&oh=1ef3f06e3e42a762069728757b3726c8&oe=5E34CF57

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/377923_172985479464936_2133870010_n.jpg?
_nc_cat=106&_nc_oc=AQmyXk_oVGdyCvyga46n3XD-GLIl30H31udHzk0ByQsVihU6HecKikTaoErkIZDJQcE&_nc_ht=scontent-sea1-
1.xx&oh=c4180364c1892dc95a5c2ae43b6c4679&oe=5E3D14B5��
https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/302947_172985489464935_625502936_n.jpg?
_nc_cat=110&_nc_oc=AQlx8dwTPKP73iYh2zeP6aXgz9j2j768cwrnXHl0l2MFeDJqT-5SnFcXJkUm6gXgGVQ&_nc_ht=scontent-sea1-
1.xx&oh=382e2eec737260b8c85f5d4cfdd9c7a6&oe=5E398A27

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/388005_172985516131599_1249213942_n.jpg?
_nc_cat=111&_nc_oc=AQntibSzGHTlEaZj--Xsyd8byy3Wd2VURqbWWK9qNIq61DZ79rVFZDGhVTEcI8z4dAI&_nc_ht=scontent-sea1-
1.xx&oh=dbbde338aa060015ed014a3abd4585d0&oe=5E387687

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/316589_172985539464930_1844618888_n.jpg?
_nc_cat=101&_nc_oc=AQl8z3RBzWzg4X34A7V1sA3gG8rzRyyVrPTbv0_9nxBc8J4iP7yFWEpPv7iX6H_d__w&_nc_ht=scontent-
sea1-1.xx&oh=bb37179f518502d76056ce29ff6b033d&oe=5E396385

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/373851_172985566131594_450513603_n.jpg?
_nc_cat=107&_nc_oc=AQkW8RMpBlR_ZGVtb_LpAaJN4b7WJhiYtMW1S0KEMsJ77_7osQxi3tzUZfAzfTsM8v4&_nc_ht=scontent-
sea1-1.xx&oh=35836fddb9ace70229560484c9a44634&oe=5E0812A9��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/377896_172985576131593_2123238857_n.jpg?
_nc_cat=100&_nc_oc=AQlh6BWplFBXRzhEaTQxfwJlMa4EQ-hvzLTh2uTL7IqiigGdKPlHs9PiKEk4tBrCgw4&_nc_ht=scontent-sea1-
1.xx&oh=552b47730675a7c330cf8bd704a93fae&oe=5DFE7E5B

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/378084_172985586131592_936024484_n.jpg?
_nc_cat=101&_nc_oc=AQnDK3VpEEPmk4EvYtvc4bE0E9CESl_bnbHO6qL0nTiyTnAf5o8h6Z_9OuRrlMloZhw&_nc_ht=scontent-
sea1-1.xx&oh=16e4bbaeee6146d45ce3c2e0f0d01b81&oe=5E396E08��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-
9/166988_172985612798256_165872406_n.jpg?_nc_cat=106&_nc_oc=AQlH3-nurGyAYXeI2-
XYoWDhjgPBJXrRN3gBDdIxT9osiht0rC4smSFuRSSjahSzr80&_nc_ht=scontent-sea1-
1.xx&oh=efbdb4cf1e07f386fbec239bd78209fb&oe=5DFD4873

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/308152_172985622798255_914629836_n.jpg?
_nc_cat=101&_nc_oc=AQl6ZGaoR9PsdtfR5lp1XWsJtyDHuJdcgvsr8mIhHaudRMSg6AZZyYVEzuwqxRQVGys&_nc_ht=scontent-
sea1-1.xx&oh=71f1955677662feeaf37d14da94f96d6&oe=5DF305F3��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-
9/383945_172985656131585_507414317_n.jpg?_nc_cat=103&_nc_oc=AQkxaIn6VRiitMlcQsbKiI-
AyzVy0KuLTkI0MTKv5jgr_SwNbo3mGgtcMU342L3UIvI&_nc_ht=scontent-sea1-
1.xx&oh=e4fdbbe366b0d10b05e6c222e04b6ba4&oe=5DFD8FEA��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/385553_172985679464916_893595321_n.jpg?
_nc_cat=105&_nc_oc=AQmhCLco8ieuBten1_dJV3BK-b4JNYIiWcMdxlLctG0QmPNH3XTQTEI3-vOvqv8WCaI&_nc_ht=scontent-
sea1-1.xx&oh=280e9f93e1107acf9c06f854de6c94a1&oe=5DF9C7C9��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/387861_172985719464912_353997272_n.jpg?_nc_cat=106&_nc_oc=AQk9-
8VlDc9ns_CHXdyMqc9Di0eOTD6IwPBm3dG0_cOnmTNG7zaIlUfSLjHRJ0lrn7U&_nc_ht=scontent-sea1-
1.xx&oh=1fac9c4dbf73997e67a9620b51ba6ffc&oe=5E022D35

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/379777_172985746131576_1381132476_n.jpg?_nc_cat=104&_nc_oc=AQnr1N1-
03qYTo6ZvoCTua65RpNr5f7FIjKKBBf6-L0t5tuBH-zQaSHqcHwrQQiSUd4&_nc_ht=scontent-sea1-
1.xx&oh=6cefef44c3ec36eb1f6d55f1fa5d0021&oe=5DF5AEF8��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/382865_172985769464907_1525405951_n.jpg?_nc_cat=103&_nc_oc=AQnJhpv9FhD-
dY9QrpEv0jeMLwUMNUr40nqbU4YA0SCfKoLMJyulAZ-8pZhR--6rIpM&_nc_ht=scontent-sea1-
1.xx&oh=c431f23ede8fcc82e281001bf13f43db&oe=5E045EFB��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/380033_172985786131572_269090486_n.jpg?_nc_cat=101&_nc_oc=AQklT60Ox6d-
QF3G1ejTGjVrdMygw-WE5bpeU0Fp4nMXuMYi1m23RQcfoLTqZbYxg44&_nc_ht=scontent-sea1-
1.xx&oh=ce65d0da7d2090f2731cd68d1fa3dfa1&oe=5E0AEA90

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/374146_172985819464902_1387869027_n.jpg?
_nc_cat=104&_nc_oc=AQlDy6BgLSODZOhl0LgDsd_L7G5cZ2YXYScMgMd1MtDlxP7HQGphU4AGSVXqa1KjGkw&_nc_ht=scontent-
sea1-1.xx&oh=927c39e98a7d576800edeb85b91a3791&oe=5DFA6972��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/390451_172985839464900_151517319_n.jpg?_nc_cat=100&_nc_oc=AQl7t-
65uv8WupTCeN4Ww-9-GTkmBkUHpJk0qxT4ZeEVcdMkLfDaBwbc2MN516-6lI0&_nc_ht=scontent-sea1-
1.xx&oh=9412e94e5373329f2ebbfd3fbb4d9e2f&oe=5E393BA8��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/384369_172985859464898_1294400761_n.jpg?
_nc_cat=102&_nc_oc=AQliBnAVNvzQdCZKF7nJgUAsESzssApQuSPKUdJkLQZzA9B7mXX_Dx7OAQOjewIcvpw&_nc_ht=scontent-
sea1-1.xx&oh=5b67597b0b33b96c575a750ffd09da69&oe=5DF046BF��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/375181_172984672798350_1108010325_n.jpg?
_nc_cat=108&_nc_oc=AQkjNuzoVQF1Baj4szmy0MFxTiXC33SR-y2M5DtOEd4otsJnFhmX7QTF4m98UepT4RM&_nc_ht=scontent-
sea1-1.xx&oh=cd0a85b59f63be4fe0c2fdc98a8959e6&oe=5E06764A

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/390804_172984709465013_163597335_n.jpg?_nc_cat=103&_nc_oc=AQn76nkvk6-
TkUbMkEwTfQyq8ZBarvuGQZsH6uTwuKuY0CWmLn_lw0OdfvzvfRWDFCc&_nc_ht=scontent-sea1-
1.xx&oh=42b0a1831ce0074329622d246de8f003&oe=5DFA4B5C

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/302186_172984719465012_2139494023_n.jpg?
_nc_cat=103&_nc_oc=AQncn4tqJrsOwK2tyUU6dqCufeJwgGsMbiDoiWke7f_Y0VWYctJVlifDQCrnhU_qzC8&_nc_ht=scontent-sea1-
1.xx&oh=cef6dd0e0d4511d685f8e9793c1fb357&oe=5E08ED0A��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/374910_172984732798344_1139049241_n.jpg?
_nc_cat=105&_nc_oc=AQnGyRqadYK2az94dZ8QmJtaM8jwCsO-CuahCyXNxdyVe9Y_-6sTtLTVToDQ6E_bOyo&_nc_ht=scontent-
sea1-1.xx&oh=08bf149cd7c5ff57efb05b7f5e281e16&oe=5E3B57B3

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/309862_172984756131675_1951209856_n.jpg?
_nc_cat=110&_nc_oc=AQlTFgHAaAyHjIUj8F82k9xXBkrg6VjbNFYRAJNo4E-A5XesGoelpQgabQR8-8gw-tk&_nc_ht=scontent-sea1-
1.xx&oh=0201b6c404782842d5f8af9034b5fbd3&oe=5E022570��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/381410_172984799465004_1260851794_n.jpg?
_nc_cat=100&_nc_oc=AQkRqahO6ri9XF282_GZUngilD5r96VDn1QGTQz1HHWJ7bQvRgPMnGJyW7CLJvdsmdo&_nc_ht=scontent-
sea1-1.xx&oh=255e37474efc92b4838393334ba4d448&oe=5E3B6CF0��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/377852_172984829465001_1412956747_n.jpg?
_nc_cat=105&_nc_oc=AQkXHaLV44RywKUwtYTnxPVrbNYSB2crlxGQkXSKrD18G2E1Y6ocJz3Pmn0h2woRJW4&_nc_ht=scontent-
sea1-1.xx&oh=6aed6d3f45d9af82fb0756942a929065&oe=5DFB4747��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/388428_172984856131665_2055465379_n.jpg?
_nc_cat=106&_nc_oc=AQmA8dFmoOj0ELPHQ-LHSNT5PJU2E3UYnNmIOU-tN4NxhsG-kkvjU2mg44v7DSNHVHg&_nc_ht=scontent-
sea1-1.xx&oh=b770db728fec089317d6e81eb9fc8ced&oe=5E006DD2

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/377511_172984926131658_1451963211_n.jpg?
_nc_cat=105&_nc_oc=AQmN2X_GHXQp2LegazjCr9PhxIexLxWX0pFRDd5_Soyo_EIZBF0q7Fqf9RTovRTCzPU&_nc_ht=scontent-
sea1-1.xx&oh=b7ec6e3f17043526285d9758f1b03c01&oe=5E3B73F2��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/311447_172984962798321_1940208126_n.jpg?
_nc_cat=103&_nc_oc=AQk4rt4pKKroIa5UGzt8jZg9cZn-Yq_Rc2l-K1WVTZVxAkReqNhKJ7ut3Znz-mqqAd8&_nc_ht=scontent-sea1-
1.xx&oh=229f39098b124e1e2110c77f50a6dde2&oe=5E3A0255��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/308161_172984976131653_767931120_n.jpg?
_nc_cat=105&_nc_oc=AQnZBxQkBsRZYMFQeIZr-ufmjsqvUoGJbxslYOMONLyntwfTgfSgmWvkdHYABuxRvmU&_nc_ht=scontent-
sea1-1.xx&oh=1ae793402648b23d03c750e8e9be2b60&oe=5E35368B��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/169931_492411174126092_154050414_o.jpg?
_nc_cat=111&_nc_oc=AQlcFQV9CIofkhSj2fsX6pd07rvhRWXaBWjo0ffg05_6UFfP_tF9Lu8Q3kxgSCmKBTI&_nc_ht=scontent-sea1-
1.xx&oh=fc34e0dc6dc47dd895c34c40456bcc6a&oe=5E06FCEF��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/169480_492411714126038_1476819049_o.jpg?_nc_cat=108&_nc_oc=AQkONhfp-
THm4iWRvjk0_xdr6Y3-wztfi1D6l095yGi58rCoZhSthoxhA3SALMEZxSc&_nc_ht=scontent-sea1-
1.xx&oh=6b0a942ee2a294976d22f11ff01648c7&oe=5E38FDAF

��https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/621239_492413907459152_369084239_o.jpg?
_nc_cat=100&_nc_oc=AQkGDsjJGaJByQSc-C9LEtOEUgJxF0-NsbF3AWp-vZQuuZvpgxX1ytRUyyxBWIOYN7M&_nc_ht=scontent-
sea1-1.xx&oh=d7d2a28bd509aa5a81842d24881d0c2d&oe=5E0CB390

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/227643_587167254633362_1265444202_n.jpg?
_nc_cat=106&_nc_oc=AQlnY5DavUIMLnPICIBlOfyWWj7zNP1ABGmojUQWNoXUcbWZHpD1tgPfYtQ-WeJqkwk&_nc_ht=scontent-
sea1-1.xx&oh=fbdcc4fd7b66934aac653a8a787ec063&oe=5E047093

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/229825_10151231331611520_1993945113_n.jpg?
_nc_cat=107&_nc_eui2=AeFYyW53C6DooYvCwmeaunVO_7G1j89-
S1lI4Hgm1aFGJYfWcDCLbtTr93Rue5_UAKytgXzksTWjTqhN79esKE12eoQRQWBlcHZcnlBCqhpEag&_nc_oc=AQn2fhJGnBWefIfHt6
BO3d5eYrv53Fa3WDA5EoYowl-CtbLQaKFJ-Dtv0h7u1LQo7ZY&_nc_ht=scontent-sea1-
1.xx&oh=73d4ed24cce33e64759408c8bc6cdc94&oe=5DF32D5F�


https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/307530_2269039519662_1572283211_n.jpg?
_nc_cat=110&_nc_eui2=AeEGE9adBtdvt6R5wZo6vRy79Kx1rTwzUXvudeI46-YKA8wKcYAG8GDgPJI8GZGYuNmvsy-
O1vyK_YdIfHajHL0k8K7LLfhVUNkRR4jKYjIq3Q&_nc_oc=AQltiWa02hbm14U711uZRUG8XCEqmyoBH7VMI65ZFlJ8XvBdB9CYh5vG
21oCqqlCwxs&_nc_ht=scontent-sea1-1.xx&oh=3be3a308b37031d5593c468e37fd4093&oe=5DF19F8E��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-0/p480x480/244109_171429809584234_5470775_o.jpg?
_nc_cat=100&_nc_eui2=AeFI05fm5-95LHvp4_7sExExfrR-4MRw1pSOZs4Q9dCbRou3dRRvJymfD4wEFC0nEk10_UmZJ_CC1-
B9GBBwLQZ6QGNeEShStJJrOIn7chMpCw&_nc_oc=AQlznEblezY_PYMsaNxCBw7zvxrXRiGw6rRc9T-
rt1RMYmnRQgnrzj3trmUOKXDNKjc&_nc_ht=scontent-sea1-1.xx&oh=814e8c9df6ea3da1de5ff6bc033d2382&oe=5E0C7392
��https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-0/p480x480/244109_171429799584235_6904731_o.jpg?
_nc_cat=107&_nc_eui2=AeHL_Jcje7ADvZOxCHf4OlXvBDPINI4FBX5_3LIFPSmbgdiYqZPEk_kp4uYljKliviTgTfgLaiXuzXbU0x38WbH
6D22fAdnAfmPPSAITzTsvhg&_nc_oc=AQme9-c0bcveHpgZ4BSg1Oqeifg6s-
oIrVggltLU5WdUeL2H0rXDqO1H8zfA4V9Jglg&_nc_ht=scontent-sea1-
1.xx&oh=252c4f66d949a00232bf07c6b05b3344&oe=5DFF9402��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-0/p480x480/244109_171429802917568_5375664_o.jpg?
_nc_cat=105&_nc_eui2=AeFxIk9SGe1eBwrZzUUCzSWeYGmyliDe7vM_51rkyCcAZaPgCDpUukPRx36VdFlVJrOmgXWBkKA6F4U6
O00sagSXBycLCmJy_Agb0r0jJj2hVg&_nc_oc=AQleY2iUrmoWpJb7K2cw2Fv-
3rBs0F9Mvd9arD22BF1pdfQvfBnfFL4tfIuKt4ojjKs&_nc_ht=scontent-sea1-
1.xx&oh=8623c7bb30814ddff5e2e99d07b1c8cb&oe=5DF06348

��https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-0/p480x480/244109_171429806250901_5175765_o.jpg?
_nc_cat=106&_nc_eui2=AeGRbgWDK0n5Kgfv4kSYXlhqqpNnaugaiMCawdQrkVmLXo64OoBSxkz2yoxhZ7ipkO11WctYBJa8UMzeP6
Rd2nCsTIPh2WYiclyrGnQ-PiQZJg&_nc_oc=AQlRYs6lotLJ3_DZsw-Fk3C-
1Q6NFC7O6kK6G2yo5p1HbtE7bnvtiMikCz_1cG21mKk&_nc_ht=scontent-sea1-
1.xx&oh=5de9a4a18919be6c675c63a2b0736571&oe=5E09C2BF

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/598703_537900959556722_12310900_n.jpg?
_nc_cat=110&_nc_eui2=AeEg_4gyN6_HjSbl-
3xFJXRJaDM9Zodx8watiCfnQu9GM8pG7Q8COx0DLKyp8vzQTTwirdgCt7Te9Y67FJ5A7Y-
Lm5MewKqNN6WtIcQGETWdcg&_nc_oc=AQleLkv4ZQwbXLAguPmh6uxi953syItCQml38vjirXV04z0ifxkUHKHZrqwBGdFa8yM&_nc_
ht=scontent-sea1-1.xx&oh=1c3a801cc51747708403c149709b35d5&oe=5DEFC38C��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/575838_219850901471811_1083876138_n.jpg?
_nc_cat=100&_nc_eui2=AeGczmqEMXjQz287L-
_m_71jobRB1uuWM0rUBQtfvBm91eCNxhjJQ9f1ngRuaSD39gf8WPu0eLPFTSR2e0hSASK-ABcn0sdDXbuy8jhfOW-
WUg&_nc_oc=AQkLE-aNFpL70IOWe8FP4Oitvz-ppzjgvpY2UXcpauPbdkK5y_xJiz5Tsey1WtrCeJE&_nc_ht=scontent-sea1-
1.xx&oh=1f2935e03206a8cbfd9924df5529718f&oe=5DF50456

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/529453_219851308138437_1291949776_n.jpg?
_nc_cat=102&_nc_eui2=AeHXNF2wOpo0O7acDiXaE8qy3C4SJj-
Dn5Tsyr4ytPrxoVrCD9AcTJIL8baVMrqTCz6mlvnpsgVSF5SJD2wh5561n1KSSNZqqR79bnS5UxBAxg&_nc_oc=AQkEbavcwQgV1GW
dXE2IRY3SDE69VIo43gH6utD-llPo9PLb_AWxyxmVJ8XN3ZCXRGs&_nc_ht=scontent-sea1-
1.xx&oh=4bfe1a55a013cbea76c623ad5deccd62&oe=5E095806��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/319390_219851548138413_1180169146_n.jpg?
_nc_cat=106&_nc_eui2=AeESsfvQdFUNP8uuRmAZUnxAaLkDqeB_IkGMpEcheH2TfRPh3PBX7Nz89-
CWAx8c5_JqG2PYPXwYKCJEDjvuF57wVhyEFo7l7NbILVSB1_sjuw&_nc_oc=AQmMIwRJj8hqNxevCy38RVRK9HcYs-
3dDN9LQyHFnUDr5YxW1F_T9L3A74m7U5jz_6E&_nc_ht=scontent-sea1-
1.xx&oh=f7fbadee49177704d43852a1fbb1be13&oe=5DFF7F23

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10403461_471309806305650_1253672524978309177_n.jpg?
_nc_cat=103&_nc_eui2=AeHaBG_5mmVP4sshVqx5fJvfkjeUSixcM0WlkDfsqyPd6jFWXZu9deGOFxOHgqRcSrxx7ulJuZ3L8JrZ-
DBoVJDKAhfL0FZLrEkW-GymUAPyiQ&_nc_oc=AQlkpfDkQeFVhtK2CqD9GJTJAAcV14O4KC1ZLA1U6bKRIH-
R8xGSqLfTKll8r0CCDc8&_nc_ht=scontent-sea1-1.xx&oh=077d90d9d399361b13926cbbd5857874&oe=5DFA4F7E��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10371967_10202763563907765_5641152754195115472_n.jpg?
_nc_cat=100&_nc_oc=AQn09jUQ4slnRhwOc8uERmHArwIqR1_S_3NrvDuJlZqZr5wVyphFC3Yl-VsKE8cQ36s&_nc_ht=scontent-
sea1-1.xx&oh=86ef42f4d95a273b1b834b04bc89470b&oe=5DF5BEB6�

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10410619_10202401719024871_7133907661273981967_n.jpg?
_nc_cat=101&_nc_oc=AQmiWMISCR_WF-HcAX154dxYORYLdf5x2YtPy9O2cT8DliTnC2aDGU-0U2C5KWLkoqg&_nc_ht=scontent-
sea1-1.xx&oh=9f35de654bcd1fba32b0be6ee4b14d1e&oe=5DF0237E��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/1461265_720884391330060_672906150489335031_n.jpg?
_nc_cat=110&_nc_oc=AQljvWo_ffQCAESerZ4OWKeS8lhFpVGmsSVRUn-hjKOK6k0TIbyKgajiwIIBO4sW9zk&_nc_ht=scontent-sea1-
1.xx&oh=47e4454b234565a7d5747542523f5db6&oe=5E0698C3

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10352261_760343847341174_5337372865478404961_n.jpg?
_nc_cat=103&_nc_oc=AQmizI4CnsZoFAalJtDBSba5v9UUlvMVI2KDciVO5xCiy1teqsgdF4LJm7jBxK1t_EM&_nc_ht=scontent-sea1-
1.xx&oh=b8de16c49363d0b290027e615eaa47e0&oe=5E0137E1

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10262198_770524552971485_963141017428643748_n.jpg?
_nc_cat=101&_nc_oc=AQmjfz-808sPrpNo483EZHVNZIki8dLDFhFFECHtfAifnUoeRQZBprrIaDO0ajzhXEw&_nc_ht=scontent-sea1-
1.xx&oh=99bbf973fc95257ff670cb256fac536d&oe=5E3BA4BF

��https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/10468233_302738013261672_3197756223349987398_o.jpg?
_nc_cat=108&_nc_oc=AQkrrNy-G5tCqK2UVBHw_p8rTrcV8tOpvFcMzm93bb80PdKK2mQOLJsIGagEetKDOsc&_nc_ht=scontent-
sea1-1.xx&oh=488bf2f823a9b93a0b84ac8d55322edc&oe=5DFA5BBA��
https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10731062_302738039928336_5727166971323014184_n.jpg?
_nc_cat=104&_nc_oc=AQm1ZKmXHerwg8CcUJ9TK0wCpQmlR_I40iE1QUS9SSzGZ_44AK8YJTugPBF_TunVxmE&_nc_ht=scontent
-sea1-1.xx&oh=806c0b4ff879b9af0d8ea4508b6ab080&oe=5E3DDE1A��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10154176_302738056595001_3569937505311255171_n.jpg?
_nc_cat=109&_nc_oc=AQnR22TYqXhWMSFS6Ekci3J9etR93bn4EyyzHl0fbYsdlBiYgxIt2KxPByo2npLT9m8&_nc_ht=scontent-sea1-
1.xx&oh=6a23b42b115b2bc472743fd98107fad4&oe=5DF085F0��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10403415_661994153876792_7008556012013116876_n.jpg?
_nc_cat=109&_nc_oc=AQkyb_5NjZbFxNhDXF8dX2xAVSOOLuDP3bA3eCoPJHys79nxnUE613H3EvBlWeoFjqo&_nc_ht=scontent-
sea1-1.xx&oh=0da1f756f49ad3ec4c5bf79b56ee57e9&oe=5DFF06E6��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10511172_720884407996725_4036440429665754068_n.jpg?
_nc_cat=104&_nc_oc=AQnlzWDTuDlw2LWbUTTC7a-mp7DnBxduPWvebPZgvm8aV2FeI_jpQAyjhQDuBXaPyuY&_nc_ht=scontent-
sea1-1.xx&oh=629de8535dd8195658e8d3c5e190e329&oe=5DF483B4��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10557205_720884384663394_2338637817749592918_n.jpg?
_nc_cat=105&_nc_oc=AQk3iMF3qIwtfXFgvPgFtceZph-haZ4ofYphI0QNN0yuZMfTTA4tTWhbjJHwakVL5Wc&_nc_ht=scontent-sea1-
1.xx&oh=ad13841a8f8529dfe75c55b8f592b8d8&oe=5DEF316A

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/1620421_720884367996729_564076971729746566_n.jpg?
_nc_cat=101&_nc_oc=AQklpbTByHriGI70Qbg2t5xhrhsJsC2-inqXNpzfT7-gb1K9ZqLVHU-gaUTMHnOYR9E&_nc_ht=scontent-sea1-
1.xx&oh=1a8101f8b2b0ce47d7bdab6c7d2a8ec4&oe=5E089D97��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/1016464_918668918161563_1634198802970816912_n.jpg?
_nc_cat=103&_nc_oc=AQnH0_Px6S_o9sGMZe9FaOZdCwsJs0Ts3hZ9wp41Ns6dWklil-edVyC7cyOpK1koaMY&_nc_ht=scontent-
sea1-1.xx&oh=8564c097df72dd9292bf99bdfc926219&oe=5E3515B2

��https://scontent-sea1-1.xx.fbcdn.net/v/l/t1.0-9/1604708_720884351330064_4679777472725092049_n.jpg?
_nc_cat=107&_nc_oc=AQmajwZq-L6KgxBLWlDmb8UWk5hvZsYaZVYPQim2GJu6a8YLtZBsWomR5W0flqdk78E&_nc_ht=scontent-
sea1-1.xx&oh=b3aeab0f9c77208f3b2f1216610a2398&oe=5E360770

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/1959340_720884377996728_6864083536740619560_n.jpg?
_nc_cat=102&_nc_oc=AQk7jsHJIHOOM7T4xQ3upj1ypA75ZtoSbfXytCBJ9ZHZ4mKN4sBaiouRBKb8DIP38mA&_nc_ht=scontent-
sea1-1.xx&oh=d2e981ad08ae8bcc4be023c60f76a425&oe=5E34E920�

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10615583_782780445076508_5691059209448285762_n.jpg?
_nc_cat=105&_nc_oc=AQl8cqw9UVr4vtxLfkZAqmQbvsUFJCtYyJy6u4054xtJO-BfqeWRUo9LhOD8sp7-L3w&_nc_ht=scontent-sea1-
1.xx&oh=ee592ed9e9cfd705b19605cafee25f16&oe=5E37CEE8��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10425406_782780528409833_1634412955895799343_n.jpg?
_nc_cat=100&_nc_oc=AQlysHxfJ3wgNISvr2SqLeCAs6LHqSvs1TIVcOZuI4cJtvVmZdpdMjHmF2eFLfwHImE&_nc_ht=scontent-sea1-
1.xx&oh=b23b4a4aa0d23445c0a72ec68cde502a&oe=5E3D7D79��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10534076_782780538409832_6360706331509686591_n.jpg?
_nc_cat=109&_nc_oc=AQnpgmDVqqORd0TgNgm0hARp_qegcU-c80LfrJeakX6J4G_yBHjIAzLxBxkuQgzx2S8&_nc_ht=scontent-
sea1-1.xx&oh=ab99bab6e4dc34550c92a3e9f79cba8d&oe=5DF0E5CE

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10544332_782780658409820_8479897763646259828_n.png?
_nc_cat=110&_nc_oc=AQl3N-caF0FOtbUnYGLQS_k3Vv1O8Nz8AbMJ-vF-m-Ebid38to6RTAcMe3biQoX9MSc&_nc_ht=scontent-
sea1-1.xx&oh=5db37e5438106095cc276f845ecec9d5&oe=5E06C126��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10451159_668808159905584_2112963381984338594_n.jpg?
_nc_cat=102&_nc_oc=AQn6DONb1L0TQGNkWYs94gcN9wdetHzgEEOQaxhTn8gA54BkVfB_MCERozSb9H8RSWI&_nc_ht=sconten
t-sea1-1.xx&oh=1a71d58224c31d91cef58089731617b7&oe=5E3C9661��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/10530646_792089170835722_4268667370198611932_o.jpg?
_nc_cat=111&_nc_oc=AQnQMAXwsiw_hD4nEe8F79c3SXqaBAfhp0uXsyXH_VYivV0bbZhp7DzvQH3GLNBs2-o&_nc_ht=scontent-
sea1-1.xx&oh=6e12d47e93bb14f227a1eb5aae9e8ad6&oe=5E3BD3B1��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/10560287_792089157502390_5569314477251680290_o.jpg?
_nc_cat=102&_nc_oc=AQkoii1HlO_PxozUtuZ9BFgaw8EmXeev2mFt8GE1hBvOOAcukj2KSDZ9CGAaqHMp4ZA&_nc_ht=scontent-
sea1-1.xx&oh=f6ef8ac8a9c8e7606061db30998fb711&oe=5E07DDEA��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/10630663_792089130835726_1379469566089854754_o.jpg?
_nc_cat=105&_nc_oc=AQnHYyizIC8m5_Xgi0XpG-S69EU2RTzNpsny23PAnd1Of8v54AhfA5CGkPefz_xC2Lg&_nc_ht=scontent-sea1-
1.xx&oh=a914b1a44d24cda605d1d73fc57afab1&oe=5E0AAF39

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10603647_792089107502395_6242965392838657769_n.jpg?
_nc_cat=104&_nc_oc=AQl7Vr76C1RL_u7NNoODvNalCUBeD0LEFgzxXx2-c8IJMYsVTqKZ4TaYbpMnoqLizgs&_nc_ht=scontent-
sea1-1.xx&oh=2be961d1714ddfd2a20cd12b55bf0218&oe=5E3C50C4
sea1-1.xx&oh=2be961d1714ddfd2a20cd12b55bf0218&oe=5E3C50C4

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10730109_590790574358593_9065126624967741846_n.jpg?
_nc_cat=106&_nc_oc=AQl7KSgs9ooDT79EFU1ahhEhY-jnZIO43Br6i5mDewDAub4XMPgas31RNkrwNQOjdjw&_nc_ht=scontent-
sea1-1.xx&oh=d6fa155c28d3469226d7f1d8ca9a9bb7&oe=5DF3539E��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10356263_10152087302651485_9039179255126360978_n.jpg?
_nc_cat=108&_nc_oc=AQlN00HMMv6PGDk3jOfXkKSgPxFoDV7qlHK7rc-2SQyCfxvA2o2vFEaYlqNAuaU4rms&_nc_ht=scontent-
sea1-1.xx&oh=d88e6fea6ffba1f7f6630c610ee732b4&oe=5DFF5D90

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/1506589_10152087302691485_1150750200995740133_n.jpg?
_nc_cat=108&_nc_oc=AQl8ob6sUYA3L5UZUmuaME1ljIYhqXKCGtBJqEXcZBzs183u7o6AINJE-AtqTZmGi2Y&_nc_ht=scontent-
sea1-1.xx&oh=ee9a2d96bec37c903e1f25c241fae0cd&oe=5DF1513A��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10385407_10152087302821485_4901624761003850704_n.jpg?
_nc_cat=107&_nc_oc=AQk6yltufm9DnvSyaP5WerctjAnJZE205sVKo7oeWF2M5g57-q35FsyPHvIkeSXF318&_nc_ht=scontent-sea1-
1.xx&oh=9234028d71c42179aaffe19f28bf7a3a&oe=5E03DE31

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/1231097_10152087302856485_8630732672937250219_n.jpg?
_nc_cat=104&_nc_oc=AQm3bTWWc_rtbMO13GAUTxY0omrpEiUvFg9zYqbM-jeHuzOAp-KSpJcIUqSHxJ6JQDs&_nc_ht=scontent-
sea1-1.xx&oh=12ac2f07d4fb95986a3ee13bc3815d1b&oe=5DF1A776��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/1969418_10152087302886485_172365237360807367_n.jpg?
_nc_cat=109&_nc_oc=AQlhQRgLFP2KTw5ESmfmkV525JfmXv7aYJTJFFFVyRqfb5OGHJpX2NnkkKRGe6z87uo&_nc_ht=scontent-
sea1-1.xx&oh=eb155aab9b005ec3c78ee2b65e669ce1&oe=5DFF9AAA��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10544332_782780658409820_8479897763646259828_n.png?
_nc_cat=110&_nc_oc=AQl3N-caF0FOtbUnYGLQS_k3Vv1O8Nz8AbMJ-vF-m-Ebid38to6RTAcMe3biQoX9MSc&_nc_ht=scontent-
sea1-1.xx&oh=5db37e5438106095cc276f845ecec9d5&oe=5E06C126

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10534076_782780538409832_6360706331509686591_n.jpg?
_nc_cat=109&_nc_oc=AQnpgmDVqqORd0TgNgm0hARp_qegcU-c80LfrJeakX6J4G_yBHjIAzLxBxkuQgzx2S8&_nc_ht=scontent-
sea1-1.xx&oh=ab99bab6e4dc34550c92a3e9f79cba8d&oe=5DF0E5CE��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/1618694_618500281558529_1649658612_n.png?
_nc_cat=101&_nc_oc=AQmxwDyJ_r1xXh2m7VX583-8gaIHPzzE_Nn1pP-WHqhrTuPs3bA6lb1l7-9bRdl_LAw&_nc_ht=scontent-sea1-
1.xx&oh=78448a15bcb718f27106be0ae69ecda5&oe=5E01E1D4��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/1620942_329011573922026_4867818790677793106_n.jpg?
_nc_cat=103&_nc_oc=AQljoy3AJX9fYWLR3onqLnPyA0wmxnYLz7Ht-rNZs-CuJKoZ3u14LPA7qt2wQrDrIA8&_nc_ht=scontent-sea1-
1.xx&oh=d4cd46c359caa8936d1c10b0ef765ee7&oe=5E35591F

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10462531_329011780588672_4652690317521064452_n.jpg?
_nc_cat=100&_nc_oc=AQm7SxjT_4v3xreXWpYppEQ7IC-osqL_IQiq79HyGM7K-q-6LEGdBDmI5v4bLyq0N0g&_nc_ht=scontent-sea1-
1.xx&oh=678738fc82be08e666a1a88dfcdbe514&oe=5DEF350E��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/1908378_329012460588604_8986899715865573917_n.jpg?
_nc_cat=107&_nc_oc=AQm-BdmGo442pUmW95mxxog6DL9vdj22de6I5qo2WtkTx5FI0UINQC1i9Rc8v4CUpPU&_nc_ht=scontent-
sea1-1.xx&oh=e3871ad2a7abab207fafc299a15c5834&oe=5DF20748��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10557373_329010353922148_2306544908074179091_n.jpg?
_nc_cat=110&_nc_oc=AQn7eyARZ9FocjgYrA4Wr8glRdxE1g6VbreJd1P8MIhzKN4MeAbZQdGTI7bfaRBzGD8&_nc_ht=scontent-
sea1-1.xx&oh=31dddf79a6dc403b102de10ef33363dd&oe=5E0836AA��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10731062_302738039928336_5727166971323014184_n.jpg?
_nc_cat=104&_nc_oc=AQm1ZKmXHerwg8CcUJ9TK0wCpQmlR_I40iE1QUS9SSzGZ_44AK8YJTugPBF_TunVxmE&_nc_ht=scontent
-sea1-1.xx&oh=806c0b4ff879b9af0d8ea4508b6ab080&oe=5E3DDE1A��

https://scontent-sea1-1.xx.fbcdn.net/v/t31.0-8/10468233_302738013261672_3197756223349987398_o.jpg?
_nc_cat=108&_nc_oc=AQkrrNy-G5tCqK2UVBHw_p8rTrcV8tOpvFcMzm93bb80PdKK2mQOLJsIGagEetKDOsc&_nc_ht=scontent-
sea1-1.xx&oh=488bf2f823a9b93a0b84ac8d55322edc&oe=5DFA5BBA��

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/10154176_302738056595001_3569937505311255171_n.jpg?
_nc_cat=109&_nc_oc=AQnR22TYqXhWMSFS6Ekci3J9etR93bn4EyyzHl0fbYsdlBiYgxIt2KxPByo2npLT9m8&_nc_ht=scontent-sea1-
1.xx&oh=6a23b42b115b2bc472743fd98107fad4&oe=5DF085F0
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      z0zX6mNaArcNH7EOKdSr0gfs5sdtE3RLCjmphG6zqE&_nc_ht=scontent-sea1-
      1.xx&oh=fa8e339c8a6161c540c9d6171804d536&oe=5E231656

      https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/71830571_183467749368015_419462041024069632_o.jpg?
      _nc_cat=100&_nc_oc=AQlrDnULE5x5P9Znsrldwe8JvINJhKHJDr4th74M_kFS_fziEq4O2tLN3u9TFIR0rQQ&_nc_ht=scontent-sea1-
      1.xx&oh=b7dec19a497d368f08132c046f48773a&oe=5E315275

      https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/64542139_2316300078477166_1776454321085349888_o.jpg?
      _nc_cat=107&_nc_oc=AQkxJ7-qgVGdOY2hiOA2pB6ujSKwLC0ss0HrVNFn3fWBVmlrgrIcot2nq3X-UBw82_k&_nc_ht=scontent-sea1-
      1.xx&oh=2f9871ecc5f54c883259b71fdad534bf&oe=5E2E9324

      https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/66728366_2316300085143832_1802361804332990464_o.jpg?
      _nc_cat=109&_nc_oc=AQk7aMj1x_x-npmg0nQR8HndjY3UO5pA-o9fH_lD6jwcNDW4ZkB5s4kfWp__GKsjodQ&_nc_ht=scontent-
      sea1-1.xx&oh=e34978d3813d42114202b688293803ad&oe=5E3C4A80

      https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/66297596_2316300138477160_7736677456760799232_o.jpg?
      _nc_cat=102&_nc_oc=AQlmsw0mT690JcpgndohDcOnDkDo4uzbrKzuY14dpQTNXXOCVttuaMUXi-AGQtVSr1w&_nc_ht=scontent-
_nc_cat=102&_nc_oc=AQlmsw0mT690JcpgndohDcOnDkDo4uzbrKzuY14dpQTNXXOCVttuaMUXi-AGQtVSr1w&_nc_ht=scontent-
sea1-1.xx&oh=42ccffc6ff2fe8c0035706a0f6655371&oe=5E2FE25A

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/66467914_2316300171810490_3871996056241700864_o.jpg?
_nc_cat=111&_nc_oc=AQkoKGobrEbpCCGhUV36GKXlg5YGBSMx01iIJxuTLMmv3GvCs14NpnK8YxgLikUaeLs&_nc_ht=scontent-
sea1-1.xx&oh=ff5500d258c940bc8550cbfca2f91c86&oe=5E3252B5

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/66378375_2316309258476248_418052518656868352_n.jpg?
_nc_cat=107&_nc_oc=AQnRiv21O5KWkMMnrJDmJdNwbDEQmQ1KeD4Bwb3Xmm7Hn53qQsMMqT8M0Cj6KusNO8k&_nc_ht=scon
tent-sea1-1.xx&oh=9eb3596ec2fea5994e6ad0386bd84df9&oe=5E3BF1B1

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/66612301_2316309231809584_7505877154203172864_n.jpg?
_nc_cat=104&_nc_oc=AQnh8Be0uV9EKHcYZ_lxs5uH-YDiyt_tBrF7iyjQSVHWOjEGPJ519ROGGEy1EZgXZ6c&_nc_ht=scontent-
sea1-1.xx&oh=102762e2095c4022dec62715626b4d10&oe=5E30F03C

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/66728583_2316309238476250_6775574916784717824_n.jpg?
_nc_cat=100&_nc_oc=AQnRCFkJ4IahjZutehaKDlCkygI5wTN23MS6H47n-Q1tpaTMkAL6oYob8IqMQacGEbY&_nc_ht=scontent-
sea1-1.xx&oh=f4c4eb54b0cf5df662cab5d8319c3984&oe=5E1F894D

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/66746078_2316309361809571_8665998278128566272_n.jpg?
_nc_cat=103&_nc_oc=AQkqMRV311yllTO3qVl_GUs8FllyzdONcxeU37khbvTXRgPDxhTidJHXsvpb26nVcqM&_nc_ht=scontent-sea1-
1.xx&oh=8db4ac32229c520b177fecf1ccd32473&oe=5E1705B0

https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/66368201_2316309381809569_7408031373929218048_n.jpg?
_nc_cat=103&_nc_oc=AQn94NVacF8lBjO7E6U4V6RkFlzAskqbA6IMBBVdu5tm8ObuSPmTgnHlTMkpN3Fyq_o&_nc_ht=scontent-
sea1-1.xx&oh=7fc60707b02bbce323f14f6f02f40316&oe=5E2AD5F8

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/66965822_2316309405142900_2507286359899635712_n.jpg?
_nc_cat=103&_nc_oc=AQl6VBVGettoWVmeTc2XuRGpRCOO8HndNjVAtdb0OIHZFgWXEgfufNJR0amBLF2xmRQ&_nc_ht=scontent-
sea1-1.xx&oh=14c34df4c692385398a94cd8e0587ddf&oe=5E3C40D4

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/66402017_2316309441809563_6431603261064609792_n.jpg?
_nc_cat=103&_nc_oc=AQkVJ9-zewIaG89xYp23taCuWya-pnWgFM4JFA-iUoU-R31wcAoGKX3fwzG8rjfVO00&_nc_ht=scontent-sea1-
1.xx&oh=9141770dd508e3a8cbcb73b6ed3d1dc9&oe=5E345505��

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_nc_cat=101&_nc_oc=AQnUyYKAzUU_CRmYesL-tcbej5cYAvnUSuns0r1El7fGntB3aR2IzUNN0xyd_QB_iss&_nc_ht=scontent-sea1-
1.xx&oh=fdf27e7a1b91d14e7059c320f8b411e4&oe=5E32C33D

��https://scontent-sea1-1.xx.fbcdn.net/v/t1.0-9/66582925_2316309448476229_3685224120565366784_n.jpg?
_nc_cat=101&_nc_oc=AQmG0qJHOEztmPdbw1vuU6RtcHo827CMLiLsXYMxZnuejkZ4yt6nd0hKrnmBfEMCnAQ&_nc_ht=scontent-
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